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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

Case No.      2:21-cv-07837-CJC-SHK                                      Date: November 10, 2021

Title: Hester Nash v. Kilolo Kijakazi



Present: The Honorable Shashi Kewalramani, United States Magistrate Judge


               D. Castellanos                                             Not Reported
               Deputy Clerk                                              Court Reporter


    Attorney(s) Present for Plaintiff(s):                    Attorney(s) Present for Defendant(s):
               None Present                                               None Present


Proceedings (IN CHAMBERS):            Order To Show Cause


        On October 1, 2021, Plaintiff Hester Nash (“Plaintiff”) filed a Complaint (“Compl.”)
seeking judicial review of a decision of the Commissioner of Social Security (“Defendant”), along
with a request for the Clerk to issue a summons on complaint (“Summons Request”). Electronic
Case Filing Number (“ECF No.”) 1, Compl.; ECF No. 2, Summons Request. On the same day, the
Clerk of Court issued a Notice to Filer of Deficiencies in Request for Issuance of Summons
(“Deficiency Notice”), wherein Plaintiff was informed that “[t]he defendant’s name should also be
on the ‘To’ field/space” and that “[t]he summons cannot be issued until this defect is corrected.”
ECF No. 7, Deficiency Notice at 1. The Clerk of Court further instructed Plaintiff to “[p]lease
correct the defect and re-file [Plaintiff’s] summons request.” Id.

        On October 4, 2021, the Court issued its Case Management Order (“CMO”) and ordered
Plaintiff to “promptly serve the summons and complaint on the government in accordance with
Rule 4(i) of the Federal Rules of Civil Procedure” and to “file an appropriate proof of service
[(“POS”)] within 30 days of this Order.” ECF No. 9, CMO at 1 (emphasis in original). Thus,
Pursuant to the CMO, Plaintiff’s POS was due on November 3, 2021.

         Despite the Clerk of Court’s instruction to Plaintiff to file a corrected request for summons
over one month ago, and the Court’s order in the CMO to file a POS by November 3, 2021,
Plaintiff has done neither. Thus, Plaintiff is ordered to show cause, by November 17, 2021, why
this case should not be dismissed for failure to prosecute and follow Court orders. Plaintiff can
satisfy this order by filing a POS by the date listed above. Plaintiff is warned that failure to file a
POS by November 17, 2021 may result in the case being dismissed with or without prejudice.

       IT IS SO ORDERED.

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